¢ Case 2:18-cv-00122-GMN-NJK Document 1-1 Filed 01/23/18 Page 1 of 10

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. COUNSEL/PARTIES GF RECGHD

 

Name hAavevs A. Madden
S201 Walnut Ave unt G|

 

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CLERK US DISTRICT COURT

 

 

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Prison Number

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
cvs A Mad cen

   

 

 

 

 

 

 

 

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Plaintiff, ) | 2
vs. ) 2:48-cv-00122-GMN-NJK :
(SSA) Sscial Secveity Ade mosh sia? ! | a |
)
) CIVIL RIGHTS COMPLAINT
) PURSUANT TO
) 42 U.S.C. § 1983
)
)
)
, )
Defendant(s). )
A. JURISDICTION
1) This complaint alleges that the civil rights of Plaintitt, (Mavev 5 A.M aclcke h

 

(Print Plaintiff’s name)
, t atl oO
who presently resides at S201 Walnut re unit 4 | dss Ves _ were

 

violated by the actions of the below named individuals which were directed against

(SSA) Socra! feeor ty Admin stra 10%

on the following dates
(institution/city where violation occurred)

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ad
Acor | . ; (Count 1) (Count II) (Count II)

Plaintiff at

 
ema?

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Make a copy of this page to provide the below
information if you are naming more than five (5) defendants

 

 

 

2) Defendant resides at
(full name of first defendant) (address if first defendant)
and is employed as . This defendant is sued in his/her
(defendant’s position and title, if any) ,
___ individual _____ official capacity. (Check one or both). Explain how this defendant was
acting

under color of law:

 

 

 

 

 

3) Defendant resides at
(full name of first defendant) (address if first defendant)
and is employed as . This defendant is sued in his/her
(defendant’s position and title, if any)
___ individual _____ official capacity. (Check one or both). Explain how this defendant was
acting

under color of law:

 

 

 

 

 

4) Defendant resides at
(full name of first defendant) (address if first defendant)
and is employed as . This defendant is sued in his/her
(defendant’s position and title, if any)
___ individual _____ official capacity. (Check one or both). Explain how this defendant was
acting

under color of law:

 

 

 

 

 

5) Defendant resides at
(full name of first defendant) (address if first defendant)
and is employed as . This defendant is sued in his/her
(defendant’s position and title, if any)
___ individual _____ official capacity. (Check one or both). Explain how this defendant was
acting

under color of law:

 

 
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6) Defendant ‘ resides at
(full name of first defendant) (address if first defendant)
and is employed as . . This defendant is sued in his/her

(defendant’s position and title, if any)
___ individual official capacity. (Check one or both). Explain how this defendant was

acting

under color of law:

 

7) Jurisdiction is invoked pursuant to 28 U.S.C. § 1343 (a)(3) and 42 US.C. § 1983. If you wish
to assert jurisdiction under different or additional statutes, list them below.

 

B. NATURE OF THE CASE
1) Briefly state the background of your case.

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COUNT I
The following civil rights has been violated: fection IS? of the Worlcforce
Tnywestment Act of 199 (wtA)

 

 

Supporting Facts: [Include all fact you consider important. State the facts clearly,
in your own words, and without citing legal authority or argument. Be sure you
describe exactly what each specific defendant (by name) did to violate your rights].

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Plaintiff was "qual Ugied ” applicant to pectine benefits. However,
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COUNT II
' The following civil rights has been violated: Tit Le IT of 4

Act CADA)

he Amoricans Disab tres

 

Supporting Facts: [Include all fact you consider important. State the facts clearly,
in your own words, and without citing legal authority or argument. Be sure you
describe exactly what each specific defendant (by name) did to violate your rights].

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COUNT III
The following civil rights has been violated: The Aag Dsctimimation Act
of 1971S. WA USCS blo |

 

Supporting Facts: [Include all fact you consider important. State the facts clearly,
in your own words, and without citing legal authority or argument. Be sure you
describe exactly what each specific defendant (by name) did to violate your rights].

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D. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

as involved in this action? Yes *“No. If your answer is “Yes”, describe each

1) Have you filed other actions in state or federal courts involving the same or similar facts
lawsuit. (If more than one, describe the cn on an additional page following the below

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2)

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outline).

a) Defendants:

 

 

 

b) Name of court and docket number:
c) Disposition (for example, was the case dismissed , appealed or is it still pending?):
d) Issues raised:

 

 

 

e) Approximate date it was filed:

 

f) Approximate date of disposition:

 

Have you filed an action in federal court that was dismissed because it was determined to
be frivolous, malicious, or failed to state a claim upon which relief could be granted?
____ Yes xX No. If your answer is “Yes”, describe each lawsuit. (If you had more than
three actions dismissed based on the above reasons, describe the others on an additional page
following the below outline.)

Lawsuit #1 dismissed as frivolous, malicious, or failed to state a claim:

a) Defendants:

 

 

 

 

 

b) Name of court and case number:

Cc) The case was dismissed because it was found to be (check one): frivolous
malicious or failed to state a claim upon which relief could be granted.

d) Issues raised:

e) Approximate date it was filed:

 

f) Approximate date of disposition:

 

Lawsuit #2 dismissed as frivolous, malicious, or failed to state a claim:

a) Defendants:

 

b) Name of court and case number:

 
3)

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The case was dismissed because it was found to be (check one): frivolous

 

malicious or failed to state a claim upon which relief could be granted.

Issues raised:

 

 

Approximate date it was filed:

 

Approximate date of disposition:

 

Lawsuit #3 dismissed as frivolous, malicious, or failed to state a claim:

a)
b)
c)

d)

Defendants:

 

Name of court and case number:

 

The case was dismissed because it was found to be (check one): frivolous

 

malicious or failed to state a claim upon which relief could be granted.

Issues raised:

 

 

Approximate date it was filed:

 

Approximate date of disposition:

 

Have you attempted to resolve the dispute stated in this action by seeking relief from the

proper administrative officials, e.g., have you exhausted available administrative grievance

procedures? Yes No. If your answer is “No”, did you not attempt administrative

relief because the dispute involved the validity of a:(1)___ disciplinary hearing; (2)___

state or federal court decision; (3) state or federal law or regulation; (4) parole

board decision; or (5)__ other

 

If your answer is “Yes”, provide the following information. Grievance Number

Date and institution where grievance was filed

Response to grievance:

 

 

 

 
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E. REQUEST FOR RELIEF

I believe that I am entitled to the following relief:

 

 

 

 

 

 

 

I understand that a false statement or answer to any question in this complaint will
subject me to penalties of perjury. I DECLARE UNDER PENALTY OF PERJURY
UNDER THE LAWS OF THE UNITED STATES OF AMERICA THAT THE
FOREGOING IS TRUE AND CORRECT. See 28 U.S.C. § 1746 and 18 U.S.C. § 1621.

Wares A-Madbo, MW elblur

(Name of Person who prepared or helped (Signature of Plaintiff)
prepare this complaint if not Plaintiff)
23/18

(Date)

 

 

 

(Additional space if needed; identify what is being continued)

 

 
